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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    STRATEGIC OPERATIONS, INC.,                        Case No.: 17-CV-01539-JLS-WVG
12                                      Plaintiff,
                                                         ORDER FOLLOWING JOINT
13    v.                                                 STATUS CONFERENCE
14    BREA K. JOSEPH, an individual;
      KASEY EROKHIN, an individual; KBZ
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      FX, INC., an unknown business entity,
16    and KBZ FX, INC., a California
      corporation,
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                                     Defendants.
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           On August 30, 2019, the Parties appeared before this Court for a joint status
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     conference regarding the Parties’ progress on resolving this action, pursuant to the Court’s
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     August 16, 2019 Order (Doc. No. 42). Having heard the Parties’ positions and efforts to
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     settle this matter, the Court ORDERS the Parties to appear for a joint status conference or,
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     alternatively, a case management conference on September 6, 2019, at 9:30 A.M. Should
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     the Parties file a Notice of Settlement prior to the joint status conference on September 6,
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     2019, the Court will vacate the case management conference and proceed exclusively with
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     the joint status conference to coordinate the settlement process. No later than 6 P.M. on
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     September 4, 2019, counsel for the Parties are to lodge with Chambers their appearance
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 1   and the phone number they can be reached at without fail.
 2         IT IS SO ORDERED.
 3   Dated: September 4, 2019
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